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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  VICTOR FUENTES,                               :
                                                :
       Plaintiﬀ,                                :
                                                :
  v.                                            :            CIVIL ACTION NO. 18-5174
                                                :
  ROYAL DUTCH SHELL, PLC., et. al,              :
                                                :
       Defendants.                              :




                   DEFENDANT JIFFY LUBE INTERNATIONAL, INC.’S
                     MEMORANDUM OF LAW IN SUPPORT OF ITS
                   MOTION TO DISMISS UNDER FED. R. CIV. P. 12(B)(6)




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                                         INTRODUCTION

           Victor Fuentes is a former employee of two Jiﬀy Lube International, Inc. (“Jiﬀy Lube”)

franchisees in three diﬀerent locations. He has sued Jiﬀy Lube alleging that it violated Section 1

of the Sherman Antitrust Act by including a provision in its franchise agreements that prevents

franchisees from hiring other franchisees’ employees during their employment or for six months

after their employment ends. 15 U.S. C. § 1; Doc. 1 ¶ 8. Fuentes seeks to represent a class of all

current and former Jiﬀy Lube employees, going back to at least 2010, and he seeks both damages

and injunctive relief. Doc. 1 ¶ 74.

           Fuentes’s complaint fails to state a claim under Section 1 and must be dismissed for a

number of independent reasons.

           First, although Fuentes contends that his claim should be judged using antitrust’s per se

rule, which condemns certain types of agreements between competitors as “per se” unlawful, he

admittedly challenges an agreement made by ﬁrms at diﬀerent levels of the distribution chain,

that is, ﬁrms that do not compete with one another. �e Supreme Court and �ird Circuit

repeatedly have held that that the per se standard is the exception rather than the rule; vertical

restraints, like the one Fuentes challenges, must be evaluated under the rule of reason. And

under the rule of reason, before any restraint can be found unreasonable, its competitive eﬀects

in a properly deﬁned relevant market must be weighed.

           But Fuentes has failed to plead the necessary elements of a rule-of-reason claim. He has

not alleged relevant geographic or product markets, both of which are necessary under the rule of

reason to evaluate whether the agreements Fuentes challenges have any eﬀect on competition,

much less an eﬀect that would violate the Sherman Act. Without those allegations, Fuentes’s

complaint must be dismissed.




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           Second, Fuentes’s claim for injunctive relief must also be dismissed because he does not

have standing to pursue it. Fuentes has not been employed by a Jiﬀy Lube franchisee for more

than six months, nor has he indicated that he has any plans to return to work for a Jiﬀy Lube

franchisee. �us, he is not subject to the terms of the agreement he challenges, nor is he likely to

be. And since Jiﬀy Lube no longer includes the provision in new franchise agreements and has

agreed that it will not enforce the provision in its existing franchise agreements, no one could be.

           �ird, Fuentes claims that the fraudulent concealment doctrine should excuse his claim

from the four-year statute of limitations that applies to antitrust claims. But Fuentes’s allegations

do not allege a plausible claim of fraudulent concealment, let alone meet the heightened standard

for particularity required for fraud allegations by Federal Rule of Civil Procedure 9(b). Nor

could they considering that the agreement Fuentes challenges is publicly available and has been

for many years.

           For all these reasons, Fuentes’s complaint should be dismissed.

                                 SUMMARY OF ALLEGATIONS

           Fuentes alleges that he was hired in October 2015 by a Jiﬀy Lube franchise in

Montgomeryville, Pennsylvania, as an Entry Level Technician. Doc. 1 ¶¶ 61-62. Just two

months later, in December, 2015, Fuentes decided he wanted to move to South Florida. He

alleges that he was told that he could not transfer to a Jiﬀy Lube in Florida because the

Montgomeryville franchisee did not have a franchise in Florida. Id. ¶ 63.

           Even though Fuentes began looking for work in South Florida almost immediately after

starting with the Montgomeryville Jiﬀy Lube, he received a number of promotions. Id. ¶¶ 63-64.

Despite that, Fuentes quit his job at the Montgomeryville Jiﬀy Lube sometime in January 2016,

and moved to Florida four or ﬁve months later, in May 2016. Id. ¶ 64.




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           At the time Fuentes moved to South Florida, only a month or two would have remained

on the six-month no-hire provision contained in the franchise agreements between defendant

Jiﬀy Lube and its independent franchisees (that Fuentes admits are not competitors of Jiﬀy

Lube). Id. ¶¶ 27, 29-30. 1 Nevertheless, Fuentes held various jobs after moving to South Florida

that were not “satisfactory” to him before he obtained a job some (unidentiﬁed) time later at a

Fort Lauderdale Jiﬀy Lube making $2.00 an hour more than he had at the Jiﬀy Lube in

Montgomeryville. Id. ¶ 65.

           Fuentes received a raise and performance-based bonuses in Fort Lauderdale and was able

to transfer to a Jiﬀy Lube in Boca Raton that was owned by the same franchisee. Id. ¶ 66. But

Fuentes then apparently decided in December 2017 that he did not want to live close to his

family in Florida anymore.        Id. ¶ 67.   He once again sought a transfer, this time back to

Pennsylvania. Id. ¶ 67. �e transfer was allegedly “denied due to the No-Poach Agreement,”

and in July 2018, Fuentes quit working at the Florida Jiﬀy Lube. Id.

           From these few allegations, Fuentes claims Jiﬀy Lube and its franchisees entered into an

allegedly per se illegal nationwide antitrust conspiracy to suppress wages, inhibit employment

mobility, and lessen professional work opportunities. Id. ¶ 67. And because Jiﬀy Lube and the

franchisees supposedly fraudulently concealed the alleged conspiracy from Fuentes and all other

employees of all Jiﬀy Lube franchisees, Fuentes seeks to represent an alleged class of “[a]ll




1 Fuentes does not mention that the franchise agreements his employers entered into were made
in conjunction with Jiﬀy Lube’s sale to the franchisees of outlets that had previously been
operated by Jiﬀy Lube itself. See Ex. 1 (Franchise Agreement with Atlantic Coast Enterprises,
LLC); Ex. 2 (Franchise Agreement with Mid-Atlantic Lubes, Inc.). (As discussed more fully
below, the Court may consider the franchise agreements without converting this motion into a
summary judgment motion because the agreements are integral to and quoted in the complaint.
In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997)).


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persons in the United States who are current or former employees of a Jiﬀy Lube shop operated

by Jiﬀy Lube or a franchisee from at least 2010 forward.” Id. ¶¶ 74, 82-90.

                               ARGUMENT AND AUTHORITIES

           Fuentes’s allegations do not state an antitrust claim and his complaint should be

dismissed. Rule 12(b)(6) requires dismissal of claims where a plaintiﬀ’s allegations are not

“plausible” and fail to “raise a right to relief above the speculative level.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555-56 (2007); see also Gelman v. State Farm Mut. Auto. Ins. Co., 583

F.3d 187, 190 (3d Cir. 2009). In deciding a motion to dismiss, courts ignore “legal conclusions”

or “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Additionally, a court must dismiss a

complaint when the plaintiﬀ fails to plead facts necessary to support an essential element of his

or her claim. See Brunson Commc’ns, Inc. v. Arbitron, Inc., 239 F. Supp. 2d 550, 570-71 (E.D.

Pa. 2002) (dismissing antitrust claims where the complaint “provided no factual allegations” that

would support essential element of the claim).

           Generally, in ruling on a motion to dismiss, a court relies on the complaint, attached

exhibits, and matters of public record, including other judicial proceedings.           Sands v.

McCormick, 502 F.3d 263, 268 (3d Cir. 2008); Pension Beneﬁt Guar. Corp. v. White Consol.

Indus., Inc., 998 F.2d 1192, 1195 (3d Cir. 1993). Certain other materials may also be considered.

For example, “a document integral to or explicitly relied upon in the complaint may be

considered without converting the motion to dismiss into one for summary judgment.” In re

Burlington, 114 F.3d at 1426 (citation and internal quotation marks omitted); Pension Ben. Guar.

Corp., 998 F.2d at 1196 (“a court may consider an undisputedly authentic document that a

defendant attaches as an exhibit to a motion to dismiss if the plaintiﬀ’s claims are based on the




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document”). A document can be “integral to or explicitly relied upon in the complaint,” even

though the plaintiﬀ may not “explicitly refer to or cite” it. In re Burlington, 114 F.3d at 1426.

           Public records ﬁled with governmental entities may also be considered in deciding

whether to dismiss for failure to state a claim. See, e.g., Schmidt v. Skolas, 770 F.3d 241, 249 (3d

Cir. 2014) (“Other [documents], like the SEC ﬁlings attached by a number of the defendants, are

matters of public record of which the court can take judicial notice.”); Sands, 502 F.3d at 268

(matters in the public record).

1.         Fuentes’s claim is evaluated under the “rule of reason,” but he has not alleged the
           necessary elements to plead a rule-of-reason claim.

           Fuentes challenges a provision in Jiﬀy’s Lube’s franchise agreements with its franchisees

that prevents the franchisee from “employing or seeking to employ any person who is or within

the preceding six months has been an employee of Franchisor or any System franchisee of

Franchisor.” Doc. 1 ¶ 27. Fuentes contends that this agreement is a per se illegal violation of the

Sherman Act or alternatively that it should be evaluated with a “quick look” analysis. Id.

¶¶ 98-99. Fuentes is wrong on both counts. �e rule of reason applies to his claim.

           A.     The rule of reason applies to Fuentes’ claim, which challenges a restraint
                  involving firms at two different levels of the market.

           �e rule of reason, and not the per se rule, should be used to evaluate to the franchise

agreements in this case.        Only “[a] small group of restraints,” typically those between

competitors, “are unreasonable per se because they always or almost always tend to restrict

competition and decrease output.” Ohio v. American Express Co., 138 S. Ct. 2274, 2284 (2018).

�e �ird Circuit has likewise recognized “the per se rules of illegality are the exception to

antitrust analysis and are only employed in certain recognized categories.” See Eichorn v. AT&T

Corp., 248 F.3d 131, 144 (3d Cir. 2001).




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           �us the default analysis for whether an agreement unreasonably restrains trade is the

rule of reason, “under which an antitrust plaintiﬀ must demonstrate that a particular contract or

combination is in fact unreasonable and anticompetitive before it will be found unlawful.”

Texaco Inc. v. Dagher, 547 U.S. 1, 5 (2006) (emphasis added).

           Agreements between a franchisor and franchisee, including agreements that the

franchisee will not solicit or hire another franchisee’s employees, are not among the categories

for which per se treatment has been applied—nor should they be. �at is because when an

agreement, like here, is between ﬁrms at diﬀerent levels of the market, it is a “vertical restraint,”

which is not likely to harm competition. Bus. Elecs. Corp. v. Sharp Elecs. Corp., 485 U.S. 717,

730 (1988) (“Restraints imposed by agreement between competitors have traditionally been

denominated as horizontal restraints, and those imposed by agreement between ﬁrms at diﬀerent

levels of distribution as vertical restraints.”).

           Agreements between franchisors and franchisees are vertical agreements. See Cont’l T.V.,

Inc. v. GTE Sylvania, Inc., 433 U.S. 36, 58 (1977) (concluding that territorial restrictions

imposed in franchise agreement are “vertical restraints” and subject to the rule of reason); see

also Philadelphia Fast Foods, Inc. v. Popeye’s Famous Fried Chicken, Inc., 647 F. Supp. 216,

224 (E.D. Pa. 1986) (“�e grant of exclusive territorial rights by a franchisor to a franchisee is a

classical vertical arrangement that tends to promote interbrand competition by encouraging

capital investment and advertising by the franchisee.”); see also 14D Philip Areeda & Herbert

Hovekamp, Antitrust Law ¶ 1437a (“[V]ertical agreements between actual or would-be suppliers

and customers are everywhere.           Sales, licenses, franchises, employment agreements, and

information arrangements are commonplace. �eir very ubiquity indicates that only a few will

be of antitrust concern.”).




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           Indeed, Fuentes acknowledges as much as he concedes that Jiﬀy Lube and its franchisees

do not compete with one another. Doc. 1 ¶ 24 (“Jiﬀy Lube operates its business on a franchise

model. Every Jiﬀy Lube shop is owned by an independent franchisee—Jiﬀy Lube itself does not

operate any shops.”); id. ¶ 29 (“As established by Jiﬀy Lube’s standard franchise agreements,

each Jiﬀy Lube franchise is operated as an independently owned and managed business, by an

entity that is separate from Jiﬀy Lube.”). 2

           Because the agreement Fuentes challenges is a vertical agreement, it must be analyzed

under the rule of reason. In re Insurance Brokerage Antitrust Litig., 618 F.3d 300, 318 (3d Cir.

2010) (“Under the Supreme Court’s jurisprudence, virtually all vertical agreements now receive

traditional rule-of-reason analysis.”); AT&T Corp. v. JMC Telecom, LLC, 470 F.3d 525, 531 (3d

Cir. 2006) (“Vertical, non-price restraints imposed by the supplier are analyzed under the rule of

reason standard.”); Orson, Inc. v. Miramax Film Corp., 79 F.3d 1358, 1368 (3d Cir. 1996)

(“Agreements between entities at diﬀerent market levels are termed ‘vertical restraints.’ �e

Supreme Court has instructed that vertical restraints of trade . . . are evaluated under the rule of

reason.”).     Indeed, the Supreme Court has routinely recognized that vertical restraints are

evaluated under the rule of reason because they often have procompetitive beneﬁts. See, e.g.,

Leegin Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 890 (2007) (“�e justiﬁcations

for vertical price restraints are similar to those for other vertical restraints. Minimum resale price

maintenance can stimulate interbrand competition—the competition among manufacturers

selling diﬀerent brands of the same type of product. . . . �e promotion of interbrand competition



2 Fuentes implies that Jiﬀy Lube franchisees may have entered into agreements not to compete
with each other. See, e.g., Doc. 1 ¶ 8. �e complaint, however, contains no factual allegations
that would support that conclusion. See Iqbal, 556 U.S. at 678; Brunson Commc’ns, 239 F.
Supp. 2d at 570-71.


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is important because the primary purpose of the antitrust laws is to protect this type of

competition.”) (internal quotation marks and citations omitted).

           �e �ird Circuit’s evaluation of claims similar to Fuentes’s conﬁrms that the rule of

reason should be applied here. �e plaintiﬀs in Eichorn v. AT&T Corporation were former

employees of an AT&T aﬃliate, Paradyne, which was bought by Texas Paciﬁc. �e plaintiﬀs

challenged under Section 1 of the Sherman Act agreements that AT&T (and some of its aﬃliates)

and Texas Paciﬁc made as part of the sale, which provided that AT&T and its aﬃliates would not

hire Paradyne’s employees before and after the sale to Texas Paciﬁc. 248 F.3d 131, 139 (3d Cir.

2001). �e plaintiﬀs argued that the agreements were per se illegal restraints of trade between

horizontal competitors. Id.

           Not so according to the �ird Circuit, which held that the rule of reason applied to the

plaintiﬀs’ Section 1 claims (even though the agreement in that case was horizontal). �e court

noted that “there are no Supreme Court cases holding no-hire agreements entered upon the

legitimate sale of a business to a third party are per se antitrust violations, and . . . the only two

federal courts that have addressed the issue have declined to apply the per se rule.” Id. at 144.

�e �ird Circuit went on to hold that the “no hire agreement” plaintiﬀs challenged did not

violate the rule of reason. Id. at 145-46. 3


3 Yet another reason the franchise agreements Fuentes challenges here are governed by the rule
of reason is that they are ancillary to the sale of a business. At the time that Jiﬀy Lube executed
the franchise agreements, it did so in conjunction with its sale to the franchisees of company-
owned outlets that had been operated by Jiﬀy Lube. See Ex. 1 at 1 (“Pursuant to that certain
Asset Purchase Agreement (‘Purchase Agreement’) dated April 16, 2008 between Franchisor and
Franchisee, Franchisor is selling to Franchisee certain assets relating to the business of operating
Service Centers in Palm Beach County, Broward County, and Dade County, all in Florida . . .”);
Ex. 2 at 1 (“Pursuant to that certain Asset Purchase Agreement (‘Purchase Agreement’) dated
May 23, 2008 between Franchisor and Franchisee, Franchisor is selling to Franchisee certain
assets relating to [the] business of operating Service Centers at 20 locations in New Jersey and
Pennsylvania. . . .”).


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           Fuentes also suggests that the Department of Justice (“DOJ”) believes that “no hire”

agreements are per se illegal under the antitrust laws. Doc. 1 ¶ 58. But that mischaracterizes the

DOJ’s views about claims like Fuentes’s. �e DOJ recently ﬁled a statement in a pending

antitrust case similar to this one in which the plaintiﬀ claimed it was per se illegal for a

franchisor to restrict hiring among franchisees. �e DOJ unequivocally stated that vertical

agreements between franchisors and franchisees that restrict a franchisee’s ability to hire

employees of other franchisees are to be judged under the rule of reason.             See Corrected

Statement of Interest of the United States of America, Stigar v. Dough, Inc., No. 2:18-cv-00244-

SAB (E.D. Wash. Mar. 8, 2019), Doc. 34 at 12 (“In the franchise context, the typical no-hire or

no-solicitation agreement between a franchisor and franchisee precludes the franchisee from

hiring or soliciting other franchisees’ employees. Such a typical restraint is a vertical allocation

agreement limiting the number of employers competing for a given group of employees and its

anticompetitive eﬀects can be adequately policed under the rule of reason.”). 4

           In sum, vertical agreements limiting a franchisee’s ability to hire employees of other

franchisees are not subject to the per se rule, but rather the rule of reason. And to subject vertical

restraints like this one to per se treatment would run afoul of not only the Supreme Court’s

holding that “a vertical restraint is not illegal per se,” Business Elecs. Corp., 488 U.S. at 735, but

also the �ird Circuit’s holding that similar agreements even among horizontal competitors that

were ancillary to the sale of a business are subject to the rule of reason.

4 �e DOJ further explained that “under the ‘ancillary restraints doctrine,’ a horizontal agreement
ordinarily condemned as per se unlawful is ‘exempt from the per se rule’ if it is ancillary to a
separate, legitimate venture between the competitors. Ancillary restraints are subject to the rule
of reason.” DOJ Corrected Statement at 3 (citing Rothery Storage & Van Co. v. Atlas Van Lines,
Inc., 792 F.2d 210, 224 (D.C. Cir. 1986) (Bork, J.)) A no-hire provision in the sale of a business
from one competitor to another is an example of a vertical ancillary restraint subject to the rule
of reason. See Bus. Elecs. Corp., 785 U.S. at 730 n.4 (“�e classic ancillary restrain is an
agreement by the seller of a business not to compete within the market.”).


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           B.     A quick look approach is not appropriate.

           Fuentes next argues that even if the per se rule does not apply, the restraint he challenges

should be subjected to a “quick look” analysis. Doc. 1 ¶ 99. Not only would applying a quick

look here run afoul of Supreme Court precedent that requires vertical restraints be evaluated

under the rule of reason, it would also ignore the fact that the �ird Circuit has consistently

rejected use of a quick look approach to analyze Section 1 claims.

           A “quick look” is an abbreviated rule-of-reason analysis. United States v. Brown Univ., 5

F.3d 658, 669 (3d Cir. 1993). It has been applied where a restraint has obvious anticompetitive

eﬀects on markets or consumers, but either does not fall within the categories of restraints that

have been deemed per se illegal or has potential procompetitive eﬀects so that application of the

per se rule is inappropriate. Id. “�e object [of a quick look] is to see whether the experience of

the market has been so clear, or necessarily will be that a conﬁdent conclusion about the

principal tendency of a restriction will follow from a quick (or at least quicker) look, in place of

a more sedulous one.” Cal. Dental Ass’n v. Federal Trade Comm’n, 526 U.S. 756, 780-81

(1999).

           But the quick look approach does not apply to vertical restraints. Gordon v. Lewiston

Hosp., 423 F.3d 184, 210 (3d Cir. 2005) (rejecting quick look analysis because “even if the

Conditions were a restraint, they represent a non-price vertical restraint . . . , which we have held

is reviewed under the traditional rule of reason”). A quick look is therefore not appropriate here.

           Indeed, in nearly every instance the �ird Circuit has considered whether a quick look

approach should be used to analyze a Section 1 claim, it has rejected it. 5


5 In the one case where the �ird Circuit endorsed using a quick look analysis—to evaluate
Section 1 claims related to reverse-payment patent settlements between branded and generic
pharmaceutical companies, see In re K-Dur Antitrust Litig., 686 F.3d 197 (3d Cir. 2012)—its
approach was subsequently rejected by the Supreme Court, which vacated the �ird Circuit’s


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           For example, in United States v. Brown University, the Department of Justice challenged

an agreement among universities to ﬁx the amount of ﬁnancial aid oﬀered to students accepted to

one or more of the schools that were parties to the agreement. 5 F.3d at 661. �e Department of

Justice sought an injunction to prevent the practice, which the district court concluded was a

form of price ﬁxing. Id. at 604. Although the district court recognized that price ﬁxing is

normally a per se violation of Section 1, it nonetheless applied a quick look approach to evaluate

the agreement. Id. at 664. �e �ird Circuit, however, while also recognizing the horizontal

nature of the agreement, vacated the district court’s judgment against the defendant and

concluded that the district court should have used a “full-scale rule of reason analysis” to

evaluate the agreement. Id. at 678.

           More recently, the �ird Circuit refused to apply a quick look approach in Deutscher

Tennis Bund v. ATP Tour, Inc., 610 F.3d 820, 824 (3d Cir. 2010). �ere the plaintiﬀs, two tennis

associations, challenged the defendant’s decision to reorganize the men’s professional tennis

circuit in a way that disadvantaged a tournament owned by the plaintiﬀs. Id. At trial, the

plaintiﬀs contended the jury should be instructed to evaluate the alleged restraint with a quick

look. Id. �e district judge, however, concluded that the jury should analyze the alleged

restraint using the full rule-of-reason analysis. Id. at 827. �e �ird Circuit aﬃrmed, concluding

that the district court was right to reject the quick look approach because the “contours of the




judgment and remanded in light of the Court’s decision concluding that the rule of reason should
be used to evaluate those types of claims. See Upsher Smith Labs. Inc. v. La. Wholesale Drug
Co., 570 U.S. 913 (2013); see also Fed. Trade Comm’n v. Actavis, 570 U.S. 136, 158-59 (2013)
(holding that reverse-payment settlement agreements should be evaluated under the rule of
reason).


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market . . . [were] not suﬃciently well known or deﬁned to permit the court to ascertain without

the aid of extensive market analysis whether the challenged practice impairs competition.” Id. 6

           Of course, here the �ird Circuit has already recognized that judicial experience with no-

hire agreements is limited at best—and thus courts evaluating these kinds of agreements should

do so under the rule of reason. See Eichorn, 248 F.3d at 143 (“Because of the fact speciﬁc

inquiry involved in antitrust analysis, the Supreme Court has recognized that claims not within

established categories of antitrust liability are more appropriately analyzed under the rule of

reason where courts can balance the eﬀect of the alleged anti-competitive activity against its

competitive purposes within the relevant product and geographic markets.”).           Here, as the

challenged restraint is not only vertical, but also is one with which there is limited judicial

experience, the rule of reason must be used to evaluate Fuentes’s claim.

           Nevertheless, to bolster his argument that a quick look is appropriate, Fuentes cites two

rulings from outside the �ird Circuit on motions to dismiss in pending cases where franchise

employees allege that no-hire provisions in franchise agreements violate the Sherman Act. Doc.

1 ¶ 5 (citing Deslandes v. McDonald’s USA, LLC, Case No. 17-cv-4857, 2018 WL 3105955

(N.D. Ill. June 25, 2018); Butler v. Jimmy John’s Franchise, LLC, 331 F. Supp. 3d 786 (S.D. Ill.

2018)).

           Neither case has reached class certiﬁcation, summary judgment, or trial. Moreover, the

court in Deslandes rejected the application of a per se rule. Deslandes, 2018 WL 3105955, at *7

(“Because the restraint alleged in the plaintiﬀ’s complaint is ancillary to an agreement with a


6 �e DOJ also agrees that a quick look is not the appropriate analysis for vertical no-hire
agreements between franchisors and franchisees, like those challenged here. See Corrected
Statement of Interest of the United States of America, Stigar v. Dough Dough, Inc., No. 2:18-cv-
00244-SAB (E.D. Wash. Mar. 8, 2019), Doc. 34 at 17 (“quick-look analysis does not apply to a
vertical agreement between a franchisor and franchisee”).


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procompetitive eﬀect, the restraint alleged in plaintiﬀ’s complaint cannot be deemed unlawful

per se.”). 7 And the court in Jimmy John’s expressly declined to decide whether the per se rule,

the rule of reason, or the quick look approach should apply and instead left all three options

open. Butler v. Jimmy John’s Franchise, LLC, 331 F. Supp. 3d 789, 797 (S.D. Ill. 2018) (“[T]he

Court cannot decide at this early stage in the proceedings which rule will apply.”). 8 �e courts in

those cases, of course, were not constrained by �ird Circuit precedent rejecting both the per se

rule and a quick look approach under the circumstances presented here.

           In addition, the courts in both Deslandes and Yi rejected the per se rule because they

recognized that there were procompetitive beneﬁts to the challenged restraints. Deslandes, 2018

WL 3105955, at *7; Order Denying Defendants’ Motion to Dismiss, Yi v. SK Bakeries, LLC, No.

18-cv-5627 (W.D. Wa. Nov. 13, 2018), Doc. 33 at 9 (“When a defendant advances plausible

arguments that a practice enhances overall eﬃciency and makes markets more competitive, as

Defendants do here, per se treatment is inappropriate and the rule of reason applies.”) (internal

quotation marks and citation omitted).

           �at should have caused those courts also to reject application of a quick look approach

because once a defendant oﬀers a procompetitive justiﬁcation for a restraint, a court “must

proceed to weigh the overall reasonableness of the restraint using a full-scale rule of reason


7 �e restraint alleged in Deslandes was not just vertical, but also horizontal as McDonald’s
entered into franchise agreements and also operated its own restaurants in direct competition
with its franchisees. 2018 WL 3105955, at *6 (“�e Court agrees that the restraint has vertical
elements, but the agreement is also a horizontal restraint. It restrains competition for employees
among horizontal competitors: the franchisees and the McOpCos.”). In contrast, Fuentes
acknowledges that “[e]very Jiﬀy Lube shop is owned by an independent franchisee—Jiﬀy Lube
itself does not operate any shops.” Doc. 1 ¶ 24.
8 A third dismissal decision also rejected the per se rule. Order Denying Defendants’ Motion to
Dismiss, Yi v. SK Bakeries, LLC, No. 18-cv-5627 (W.D. Wa. Nov. 13, 2018), Doc. 33 at 9 (“To
the extent that Plaintiﬀ attempts to assert a ‘per se’ violation of the Sherman Act, she fails to
allege suﬃcient facts in support of this theory.”).


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analysis.” Brown Univ., 5 F.3d at 669; see also California v. Safeway, Inc., 651 F.3d 1118, 1134

(9th Cir. 2011) (“[I]f an arrangement might plausibly be thought to have a net procompetitive

eﬀect, or possibly no eﬀect at all on competition, then a quick look form of analysis is

inappropriate”) (internal quotation marks and citation omitted). It cannot be “obvious” that a

restraint would have an anticompetitive eﬀect if it has a countervailing pro-competitive beneﬁt—

that is precisely why the rule of reason requires a balancing of competitive eﬀects to determine

the restraint’s overall eﬀect on competition.

           Restraints like the one Fuentes challenges here have a number of procompetitive

beneﬁts—as recognized not only in those decisions he relies on but in many other antitrust cases

discussing the pro-competitive beneﬁts of restraints imposed as part of a franchise system. See,

e.g., Cont’l T.V., Inc., 433 U.S. at 55 (describing beneﬁts of vertical restraints imposed as part of

franchise system). It would make little sense to allow a plaintiﬀ to circumvent pleading the

elements of a rule-of-reason claim—and thus giving the parties and the Court fair notice of the

scope of his claims and the subjects on which discovery will be needed—when he will ultimately

be required to prove those rule-of-reason elements once a defendant introduces some

pro-competitive beneﬁt of the challenged restraint.

           C.     Fuentes has failed to allege relevant product and geographic markets, which
                  are necessary for a rule-of-reason claim.

           Under the rule of reason, a plaintiﬀ must show that the challenged agreement “produced

adverse, anti-competitive eﬀects within the relevant product and geographic markets.” Brown

Univ., 5 F.3d at 668-69; see also Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 922 F. Supp.

1055, 1060 (E.D. Pa. 1996) (“A vertical non-price restraint . . . is governed by the rule of reason,

which requires an examination of whether the restraint had an anti-competitive eﬀect in the

relevant market.”).



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           �us to adequately allege a rule-of-reason claim, a plaintiﬀ must “deﬁn[e] the relevant

market.” Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 436 (3d Cir. 1997); see

also Howard Hess Dental Labs. Inc. v. Dentsply Int’l, Inc., 602 F.3d 237, 253 (3d Cir. 2010) (“A

plaintiﬀ asserting a Section 1 claim also must allege four elements: (1) concerted action by the

defendants; [2] that produced anti-competitive eﬀects within the relevant product and geographic

markets; (3) that the concerted actions were illegal and (4) that it was injured as a proximate

result of the concerted action.”) (quotation marks and citation omitted); Queen City Pizza, 922 F.

Supp. at 1060 (“[T]o state a Sherman Act claim under either § 1 or § 2, a plaintiﬀ must identify

the relevant product and geographic markets and allege that the defendant exercises market

power within those markets.”).

           Courts routinely dismiss rule-of reason claims where, as here, a plaintiﬀ does not deﬁne a

relevant product or geographic market. Dismissal is particularly appropriate when a plaintiﬀ

does not “deﬁne its proposed relevant market with reference to the rule of reasonable

interchangeability and cross-elasticity of demand, or alleges a proposed relevant market that

clearly does not encompass all interchangeable substitute products even when all factual

inferences are granted in the plaintiﬀ’s favor.” Queen City Pizza, 124 F.3d at 436 (aﬃrming

dismissal of claims under Section 1 and Section 2 of the Sherman Act for failure to adequately

allege relevant product and geographic markets).

           Fuentes’s complaint does not contain any allegations about relevant product or

geographic markets. Because Fuentes’s claim is subject to the rule of reason, and he has not

made any allegations attempting to deﬁne relevant product or geographic markets, his complaint

must be dismissed.




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2.         Fuentes does not have standing under Article III to pursue injunctive relief because
           he is no longer subject to the agreement that he challenges and Jiﬀy Lube has
           agreed not to enforce this provision in its franchise agreements.

           Fuentes has also sued for injunctive relief. Doc. 1 ¶¶ 7, 102, 103. But Fuentes is no

longer a Jiﬀy Lube employee and indeed, he “left his employment with Jiﬀy Lube” in July

2018—that is more than six months ago. Id. ¶ 67. Fuentes does not allege that he has applied to

work at a Jiﬀy Lube franchise again or that he plans to do so. Because Fuentes could no longer

be aﬀected by the provision he challenges, he does not have standing to seek injunctive relief.

           Fuentes’s claim for injunctive relief fails for other reasons too. Namely, Jiﬀy Lube no

longer includes the provision in its franchise agreements and indeed has agreed, as part of a

settlement with the Washington Attorney General, not to enforce the provision against its

franchisees. �us, even were Fuentes still employed by a Jiﬀy Lube franchisee, neither he nor

any other Jiﬀy Lube franchise employee would be aﬀected by the provision given that it is no

longer enforced and no longer will be.

           A.     Fuentes is not subject to the provision because he does not work at Jiffy Lube
                  and has not for over six months and has not alleged that he will return to
                  work at Jiffy Lube.

           Fuentes does not have standing to seek injunctive relief. A plaintiﬀ must demonstrate

standing for each type of relief he seeks. Friends of the Earth v. Laidlaw Env’t Servs., 528 U.S.

167, 185 (2000); Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). To have standing, a

plaintiﬀ must have suﬀered an injury in fact—an invasion of a legally protected interest that is

both “concrete and particularized” and “actual or imminent, not conjectural or hypothetical.”

Lujan, 504 U.S. at 560 (internal quotation marks and citations omitted). “Allegations of a

possible future injury do not satisfy the requirements of Art[icle] III.” Whitmore v. Arkansas,

495 U.S. 149, 158 (1990). “To ensure that the alleged injury is not too speculative for Article III

purposes,” it must be “certainly impending.” Lujan 504 U.S. at 564 n.2. “When, as in this case,


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prospective relief is sought, the plaintiﬀ must show that he is ‘likely to suﬀer future injury’ from

the defendant’s conduct.” McNair v. Synapse Grp., Inc., 672 F.3d 213, 223 (3d Cir. 2012).

           Here, Fuentes alleges that he no longer works at Jiﬀy Lube and he has not for more than

six months. Doc. 1 ¶ 67. Fuentes has not alleged that he has been hired by Jiﬀy Lube again, that

he has applied to work at Jiﬀy Lube again, or even that he has plans to do so. �e �ird Circuit

has held plaintiﬀs in similar circumstances do not have standing to pursue claims for injunctive

relief. For example, in McNair v. Synapse Group, former customers of a magazine subscription

marketer sought injunctive relief against the marketer for its magazine subscription renewal

practices under state consumer protection laws. 672 F.3d at 215, 219. �e court held that the

plaintiﬀs—as former customers—did not have standing to seek injunctive relief. �e plaintiﬀs

“are not Synapse customers and are thus not currently subject to Synapse’s allegedly deceptive

techniques for obtaining subscription renewals . . . . Unless they decide to subscribe again, then,

there is no reasonable likelihood that they will be injured by those techniques in the future.” Id.

at 224; see also Landau v. Vidrin Energy PA LLC, 223 F. Supp. 3d 401, 420 (E.D. Pa. 2016)

(dismissing injunctive claims challenging “unlawful practice of charging excessive undisclosed

rates” to customers brought by a former customer for lack of standing).

           Because he is no longer employed by a Jiﬀy Lube franchisee (and has not plausibly

alleged that he will be), Fuentes has made no showing that he is or is likely to be aﬀected by the

no hire provisions in Jiﬀy Lube’s franchise agreements. Fuentes thus does not have standing to

sue Jiﬀy Lube for injunctive relief and his request for injunctive relief must be dismissed. Cf.

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 364-65 (2011) (recognizing that the court of

appeals properly concluded that “those plaintiﬀs no longer employed by Wal-Mart lack standing




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to seek injunctive or declaratory relief against its employment practices” and that former

employees “have no . . . need for prospective relief”).

           B.     Jiffy Lube has agreed to remove the “no hire” clause from new franchise
                  agreements and not to enforce the clause in any existing franchise
                  agreements.

           Even if Fuentes were still employed by a Jiﬀy Lube franchisee (or within six months of

leaving his employment with a Jiﬀy Lube franchisee), he would still not have standing to pursue

claims for injunctive relief in this case. �at is because Jiﬀy Lube no longer includes the

provision in new franchise agreements and it has agreed that it will no longer enforce the

provision in its existing franchise agreements. See Ex. 3, Jiﬀy Lube International, Inc. Assurance

of Discontinuance, In re Franchising No Poaching Provisions, Case No. 18-2-5777-2 SEA at ¶

3.1.1 (Wash. Sup. Ct. Dec. 20, 2018) (“[Jiﬀy Lube] will no longer include no-poach provisions in

any of its future franchise agreements”); id. ¶ 3.1.2 (“[Jiﬀy Lube] will no longer enforce no-

poaching agreements in any of its existing franchise agreements”); see also Doc. 1 ¶ 6 (“at least

30 national chains have already entered consent decrees with the Washington Attorney General,

pledging to remove no-poach provisions from their franchise agreements”); id. ¶60 (“Washington

Attorney General Bob Ferguson announced that in order to avoid lawsuits, certain franchisors

had reached agreements to discontinue enforcement of no-poach provision and to take steps to

remove non-poach language from franchise agreements going forward”). Without any likelihood

that the agreement will be enforced or entered into again, there is no need for prospective relief.

3.         Fuentes’s fraudulent concealment allegations do not allege conduct suﬃcient to
           establish fraudulent concealment as a matter of law and fail to meet the
           particularity requirements of Rule 9(b).

           Although Fuentes only began working at a Jiﬀy Lube outlet in October 2015, he seeks to

represent a class of employees and former employees from “at least 2010” forward. Doc. 1

¶¶ 61, 74. But antitrust claims are subject to a four year statute of limitations. 15 U.S. C. § 15b


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(“Any action to enforce any cause of action under section 15, 15a, or 15c of this title shall be

forever barred unless commenced within four years after the cause of action accrued.”). And the

statute of limitations bars claims that arose earlier than four years before the ﬁling of Fuentes’s

complaint on November 29, 2018 unless there is an applicable exception or excuse.

           �e only excuse Fuentes alleges to try to avoid the limitations bar is the equitable tolling

doctrine of fraudulent concealment. Doc. 1 ¶ 82. Fuentes’s allegations, however, are insuﬃcient

to establish fraudulent concealment, which the �ird Circuit has described as “an extraordinary

remedy which should only be extended sparingly.” Cunningham v. M&T Bank Corp., 814 F.3d

156, 161 (3d Cir. 2016). �us, a plaintiﬀ invoking fraudulent concealment must allege “(1) that

the defendant actively misled the plaintiﬀ; (2) which prevented the plaintiﬀ from recognizing the

validity of her claim within the limitations period; and (3) . . . the plaintiﬀ’s ignorance is not

attributable to her lack of reasonable due diligence in attempting to uncover the relevant facts.”

Id.   In addition, allegations of fraudulent concealment must meet Rule 9(b)’s heightened

pleading standard and be pleaded with particularity. Byrnes v. DeBolt Transfer, Inc., 741 F.2d

620, 626 (3d Cir. 1984) (“[F]raud, and thus fraudulent concealment, must be pleaded with

particularity.”) (citing Fed. R. Civ. P. 9(b)); see also Fed. R. Civ. P. 9(b) (“In alleging fraud or

mistake, a party must state with particularity the circumstances constituting fraud or mistake”).

           A.     Fuentes’s allegations of “concealment” fail as a matter of law.

           A plaintiﬀ claiming fraudulent concealment must show that the defendant actively misled

the plaintiﬀ. Cunningham, 814 F.3d at 161. To satisfy this element, the plaintiﬀ needs to allege

that the defendant “engaged in aﬃrmative acts of concealment designed to mislead the

plaintiﬀs.” Forbes v. Eagleson, 228 F.3d 471, 487 (3d Cir. 2000). Here, Fuentes has made two

allegations concerning how he believes Jiﬀy Lube supposedly “concealed” the existence of the

no-hire agreement with its franchisees.


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           First, Fuentes alleges that neither Jiﬀy Lube nor its franchisees disclosed the existence of

the agreement to him or other members of the proposed class. Doc. 1 ¶ 83. But as the �ird

Circuit has made clear, fraudulent concealment requires an aﬃrmative act of concealment.

Forbes, 228 F.3d at 487. Silence cannot satisfy this burden. See, e.g., Pinney Dock & Transp.

Co. v. Penn Cent. Corp., 838 F.2d 1445, 1472 (6th Cir. 1988) (concluding that “[m]ere silence, or

one’s unwillingness to divulge one’s allegedly wrongful activities, is not suﬃcient” to show

fraudulent concealment).

           Second, Fuentes alleges that Jiﬀy Lube made “public statements” that concealed the

existence of the agreement. Doc. 1 ¶ 84. Fuentes does not explain what these statements were

(and how they were false), when they were made, or how they actively misled him or other

members of the proposed class. In short, these are the sort of conclusory allegations that do not

even satisfy Rule 12(b)(6)’s pleading requirements, much less Rule 9(b)’s requirement that

Fuentes set out with particularity the circumstances of the alleged fraud. See Lum v. Bank of

America, 361 F.3d 217, 223 (3d Cir. 2004) (holding that Rule 9(b) requires plaintiﬀ to allege

“date, place or time of fraud” or otherwise “inject[] precision or some measure of substantiation

into their allegations of fraud,” as well as the general content of the misrepresentation). Without

more than conclusory and legally insuﬃcient allegations, Fuentes’s fraudulent concealment

claim should be dismissed.

           B.     Jiffy Lube’s franchise agreement is publicly available and has been for
                  years—making any claim that the agreement was concealed from Fuentes or
                  anyone else implausible.

           Fuentes’s claim that Jiﬀy Lube fraudulently concealed the existence of the no-hire

agreement fails for another, independent reason: it is simply not true. Even if he had pleaded his

claim of fraudulent concealment with greater speciﬁcity, it would still be insuﬃcient because

Jiﬀy Lube’s franchise agreement—the very agreement on which he bases his claim—is publicly


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available and has been since at least 2011. �ere cannot be “concealment” when the agreement

the plaintiﬀ challenges is publicly available. And certainly no allegation of concealment would

be plausible given the incontestable fact that the agreement on which Fuentes’s claim is based is

publicly available and has been for years.

           For example, copies of Jiﬀy Lube’s form franchise agreement for each year going back to

2010—which include the provision that Fuentes quotes in his complaint—are available for

download on the internet for free—and have been not only before Fuentes ﬁled his complaint,

but for years before Fuentes even began working at a Jiﬀy Lube franchise. Compare Doc. 1 ¶ 61

(alleging Fuentes began working at a Jiﬀy Lube franchise in October 2015) with Ex. 4 (noting

that form franchise agreement posted to internet in 2011).

           Oﬀering franchises is heavily regulated, both by the Federal Trade Commission and by

many states. See, e.g., 16 C.F.R. § 436.1 et seq. Some states require franchisors to ﬁle copies of

franchise disclosure documents and form franchise agreements with the states—and they make

those documents available to the public, free of charge.

           Minnesota is one such state and it requires franchisors, like Jiﬀy Lube, to ﬁle an

application for registration that includes, among other things, “a copy of the entire franchise

contract or agreement proposed for use, including all amendments thereto.” Minnesota Stat.

§ 80C.04(h). Minnesota law makes those documents available to the public. Minnesota Stat.

§ 80C.22 (“All applications, notices, reports and other documents ﬁled under sections 80.C01 to

80C.22 shall be open to the public in accordance with rules prescribed by the commissioner. �e

commissioner may publish information ﬁled with, or obtained by, the commissioner, if, in the

judgment of the commissioner, such action is in the public interest.”). Minnesota then publishes

those documents on the internet, including Jiﬀy Lube’s. And anyone can search the Minnesota




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Department of Commerce’s website for Jiﬀy Lube’s franchise ﬁlings, which include its form

franchise agreement and the provision that Fuentes challenges, by name and download those

ﬁlings for free. 9

           Given that the agreement Fuentes challenges is publicly available and has been since at

least 2011, he cannot plausibly allege that the agreement was concealed (fraudulently or

otherwise) and his fraudulent concealment claim must be dismissed.

                                           CONCLUSION

           Fuentes challenges vertical arrangements that must, under �ird Circuit and Supreme

Court precedent, be evaluated under the rule of reason, yet he has failed to plead relevant product

and geographic markets as required to allege a rule-of-reason claim. He seeks prospective relief

to enjoin a practice that by its very terms does not aﬀect him and that will not given Jiﬀy Lube’s

agreement to discard the provision from future franchise agreements and not enforce it any

longer in existing franchise agreements. And he pleads that the agreement he challenges was

fraudulently concealed even though he cannot allege any acts of “concealment” taken by Jiﬀy

Lube and the agreement he challenges has been publicly available to download on the internet

for years before he began his employment at Jiﬀy Lube.

           For all these reasons, Fuentes’s complaint should be dismissed.




9A screenshot of the website and the results of a search for “Jiﬀy Lube” are attached as Exhibit
4. �e screenshot shows both the date the document was ﬁled and the date it was posted on the
website. A copy of excerpts from Jiﬀy Lube’s franchise registration application, including the
provisions Fuentes challenges, downloaded from the Minnesota Department of Commerce’s
website is attached as Exhibit 5.


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Dated: April 15, 2019                             Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

           I certify that on April 15, 2019, I ﬁled this document on Court’s docket using the Court’s

CM/ECF system. Based on the Court’s records, all counsel of record were served with a copy of

the foregoing document by electronic means.



                                                    /s/ Andrea L. D’Ambra
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